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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION                                       JUL 2 5 2017
                                                                                CLERK,   U.S. OJSTRj
                                                                                                       COURT
BLANCA AVALOS,                                 §
  Plaintiff,                                   §                                                       DE UTY
                                               §
v.                                             §       CAUSE NO. 1:17-CV-00494-LY
                                               §
ENRIQUE CHAVEZ, JR.,                           §
ISAAC A. CORDERO,                              §
FELIX VALENZUELA, and                          §
OSCAR A. LARA,                                 §
  Defendants.                                  §

                      DEFENDANT ISAAC CORDERO'S
          MOTION TO PROCEED PRO SE AND FOR ELECTRONIC ACCESS

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW Defendant Isaac Cordero and respectfully moves the Court to permit him

to proceed pro se and for permission to obtain electronic access to the instant case and respectfully

shows the following:

       On May 23, 2017, Plaintiff filed her Original Complaint.

       On June 27, 2017, Defendant Isaac Cordero's waiver of service was filed, thereby making

his answer due on July 27, 2017.

       Although Defendant Isaac Cordero is admitted to practice in the Western District of Texas,

he requests that the Court permit him to proceed pro       se   in this action because he was sued

individually.   Additionally, Defendant Isaac Cordero also requests that the Court grant him

electronic access to the docket, in his pro se capacity.

                                             PRAYER

       WHEREFORE, premises considered, Defendant Isaac Cordero respectfully requests that

the Court grant the instant motion and permit him both to proceed pro      se   and electronic access.
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Defendant also prays for all other relief to which he is entitled in both equity and law.

                                              Respectfully submitted,


                                              Isaac Cordero
                                              7414 Mojave D'r.
                                                               /
                                              El Paso, Texas 79915
                                              (915) 598-6941




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                                CERTIFICATE OF SERVICE

       I hereby certify that, on July 20, 2017, a true and correct copy        of the foregoing instrument

was served on all parties by the following:

       Tracy Cluck: tracytracycluck1awyer.com

       Enrique Chavez: chavezlawfirm@chavezlawpc.com

       Felix Valenzuela: felixvalenzuelagmail.com

       Oscar Lara: vaugerrincon1awgroup.com



                                                           Isaac Cordero   /




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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

BLANCA AVALOS,                                 §
  Plaintiff,                                   §
                                               §
v.                                             §       CAUSE NO. 1:17-CV-00494-LY
                                               §
ENRIQUE CHAVEZ, JR.,                           §
ISAAC A. CORDERO,                              §
FELIX VALENZUELA, and                          §
OSCAR A. LARA,                                 §
  Defendants.                                  §

                   ORDER GRANTING MOTION TO PROCEED PRO SE
                          AND FOR ELECTRONIC ACCESS

         On this day, the Court considered Defendant Isaac Cordero's "Motion to Proceed Pro        Se


and for Electronic Access" (ECF No. ____), filed on July          ,   2017. After due consideration of

the Motion and any attendant responses, the Court is of the opinion that the Motion should be

granted.

         Accordingly, IT IS ORDERED that Defendant Isaac Cordero's "Motion to Proceed Pro

Se   and for Electronic Access" (ECF No. ____) is GRANTED.

         IT IS FURTHER ORDERED that Defendant Isaac Cordero is granted permission to

appear pro se on his own behalf.

         IT IS FURTHER ORDERED that Defendant Isaac Cordero is granted electronic access

to the instant case, in order to file documents electronically.

         SO ORDERED.

         SIGNED this          of               ,20l7

                                                       UNITED STATES DISTRICT JUDGE




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